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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5
     Attorney for Defendant
 6   HENRY MARQUEZ
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )       No. Cr.S. 06-0441-GEB
                                     )
13                 Plaintiff,        )       STIPULATION AND [PROPOSED] ORDER
                                     )       CONTINUING CASE AND EXCLUDING
14       v.                          )       TIME
                                     )
15   EFRAIN MEDINA, et al.,          )       Date: January 11, 2008
                                     )       Time: 9:00 a.m.
16                 Defendant.        )       Judge: Hon. Garland E. Burrell, Jr.
                                     )
17   _______________________________ )
18
             IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney PHILLIP TALBERT, counsel for Plaintiff, and Supervising Assistant
20
     Federal Defender, DENNIS S. WAKS, counsel for Defendant HENRY MARQUEZ,
21
     MICHAEL D. LONG, attorney for JAVIER MUNOZ, HAYES H. GABLE, III, attorney for
22
     ANDRES MAYORGA and ADAM D. FEIN, attorney for DONALD HAYLES, that the status
23   conference scheduled for November 30, 2007, be continued to January 11, 2008,
24   for a status conference.   This continuance is being requested because counsel
25   needs additional time to prepare, to review discovery and to interview
26   witnesses.   This case arises from a long term Title III investigation
27   involving eight court-authorized wire interception orders.     The parties

28   anticipate that discovery could include over one thousand pages of documents
              Case 2:06-cr-00441-DAD Document 93 Filed 12/03/07 Page 2 of 3


 1   and hundreds of intercepted and recorded telephone calls.

 2         IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act

 3   be excluded from November 30, 2007, through and including January 11, 2008,

 4   pursuant to 18 U.S.C. § 3161(h)(8)(B)(ii)      and Local Code T-2, based on the

     complexity of this case, and 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T-
 5
     4, based on the need for defense counsel to review discovery and adequately
 6
     prepare, and based on a finding by the Court that the ends of justice served
 7
     by granting a continuance outweigh the best interest of the public and
 8
     defendant in a speedy trial.     This case has already been found to be complex
 9
     by Magistrate Judge Kimberley J. Mueller.
10
11
               IT IS SO STIPULATED.
12
     Dated:    November 27, 2007               DANIEL J. BRODERICK
                                               Federal Defender
13
14                                             /S/ Dennis S. Waks
                                               DENNIS S. WAKS
15                                             Supervising Assistant Federal Defender
                                               Attorney for Defendant
16                                             HENRY MARQUEZ
     Dated:    November 27, 2007
17
                                               /s/ Dennis S. Waks for
18
                                               MICHAEL D. LONG
19                                             Attorney for JAVIER MUNOZ

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     Stipulation and Order                     2
              Case 2:06-cr-00441-DAD Document 93 Filed 12/03/07 Page 3 of 3


 1   Dated:    November 27, 2007

 2                                             /s/ Dennis S. Waks for

 3                                             HAYES H. GABLE, III
                                               Attorney for ANDRES MAYORGA
 4
     Dated:    November 27, 2007
                                               /s/ Dennis S. Waks for
 5
                                               ADAM D. FEIN
 6                                             Attorney for DONALD HAYLES
 7
                                               McGREGOR W. SCOTT
 8                                             United States Attorney
 9
     Dated:    November 27, 2007               /S/ DENNIS S. WAKS for Phillip Talbert
10                                             PHILLIP TALBERT
                                               Assistant United States Attorney
11                                             Counsel for Plaintiff

12
13                                         O R D E R

14              IT IS SO ORDERED.

15
     Dated:    November 29, 2007
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                                         GARLAND E. BURRELL, JR.
18                                       United States District Judge

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     Stipulation and Order                     3
